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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                  AT PIKEVILLE

    K.D.,                                        CIVIL ACTION NO. 7:17-132-KKC
            Plaintiff,

    V.                                                      JUDGMENT


    JERRY SWAFFORD, THE PIKE
    COUNTY BOARD OF EDUCATION,
    REED ADKINS and MARK
    GANNON,
            Defendants.



                                         *** *** ***

         In accordance with the Opinion and Order entered contemporaneously with this

    Judgment, the Court hereby ORDERS AND ADJUDGES as follows:

         1. Defendant the Pike County Board of Education’s motion for summary

             judgment, (DE 164), is GRANTED;

         2. Defendant Reed Adkins’ motion for summary judgment, (DE 163), is

             GRANTED;

         3. Defendant Mark Gannon’s motion for summary judgment, (DE 143), is

             GRANTED;

         4. Defendant Swafford’s motion to dismiss, (DE 165), is DENIED;

         5. K.D.’s motion for sanctions, (DE 148), is DENIED;

         6. ALL CLAIMS against the Pike County Board of Education, Reed Adkins,

             and Mark Gannon, are DISMISSED WITH PREJUDICE;
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        7. K.D.’s Section 1983 claim against Swafford is DISMISSED WITH

           PREJUDICE;

        8. The jury trial scheduled for this matter, (DE 27), is RECHEDULED to

           commence on March 18, 2019 at 1:00 p.m. in PIKEVILLE; and

        9. This Judgment is FINAL and APPEALABLE.

        Dated November 9, 2018.




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